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PETITION UNDER 28 U.S.C. § 2254 FOR WRIT OF
HABEAS CORPUS BY A PERSON IN STATE CUSTODY

United States District Court District:

Name (under which you were convicted): Docket or Case No.:

Michael Hanson, JR

Place of Confinement : Prisoner No.:
Jess Dunn Correctional Center 1000153
Petitioner (include the name under which you were convicted) Respondent (authorized person having custody of petitioner)
Vv.
Michael Hanson, JR Warden, Jess Dunn Correctional
The Attorney General of the State of: Oklahoma | L E EC
MAR 04 2024
PE ON CARMELITA REEDER SHINN, CLERK
U.S. DIST. COURT WESTERN DIST. OKLA.
BY , DEPUTY

1, (a) Name and location of court that entered the judgment of conviction you are challenging:

District Court of Oklahoma, 320 Robert S. Kerr Ave, Oklahoma City, OK 73102

(b) Criminal docket or case number (if you know): CF-2022-1542/CF-2022-465

2. (a) Date of the judgment of conviction (if you know):
(b) Date of sentencing: March 15, 2023

3: Length of sentence: 20 years
4, In this case, were you convicted on more than one count or of more thanone crime? = Yes O No
5. Identify all crimes of which you were convicted and sentenced in this case:

32 Counts of EMBEZZLEMENT

1 Count of RACKEETEERING

6. (a) What was your plea? (Check one)
O (1) Not guilty O (3) Nolo contendere (no contest)
MM (2) Guilty Oo (4) Insanity plea

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(b) If you entered a guilty plea to one count or charge and a not guilty plea to another count or charge, what did

you plead guilty to and what did you plead not guilty to? N/A

(c) If you went to trial, what kind of trial did you have? (Check one)
Ol Jury © Judge only

Did you testify at a pretrial hearing, trial, or a post-trial hearing?
O Yes M No

Did you appeal from the judgment of conviction?
WI Yes a No

If you did appeal, answer the following:

(a) Name of court: N/A

(b) Docket or case number (if you know):

(c) Result:

(d) Date of result (if you know):

(e) Citation to the case (if you know):

(f) Grounds raised:

(g) Did you seek further review by a higher state court? Yes
If yes, answer the following:

(1) Name of court: N/A

x

No

(2) Docket or case number (if you know):

(3) Result:

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(4) Date of result (if you know):

(5) Citation to the case (if you know):

(6) Grounds raised:

(h) Did you file a petition for certiorari in the United States Supreme Court? O Yes ® No
If yes, answer the following:

(1) Docket or case number (if you know):

(2) Result:

(3) Date of result (if you know):

(4) Citation to the case (if you know):

10. Other than the direct appeals listed above, have you previously filed any other petitions, applications, or motions
concerning this judgment of conviction in any state court? W Yes O No
11, If your answer to Question 10 was "Yes," give the following information:

(a) (1) Name of court: District Court of Oklahoma

(2) Docket or case number (if you know): CF-2022-1542

(3) Date of filing (if you know): __09/ 29/2023

(4) Nature of the proceeding: Motion for Reduction in Sentence/Provisional Release

(5) Grounds raised: Ineffective Counsel, Health, First Time Offender, Case Turned

Politicial, State Did Not Prove the Racketeering Charge

(6) Did you receive a hearing where evidence was given on your petition, application, or motion?
O Yes WW No

(7) Result: Denied

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(8) Date of result (if you know): 10/31/2023

(b) If you filed any second petition, application, or motion, give the same information:

(1) Name of court: N/A '

(2) Docket or case number (if you know):

(3) Date of filing (if you know):

(4) Nature of the proceeding:

(5) Grounds raised:

(6) Did you receive a hearing where evidence was given on your petition, application, or motion?
O Yes O No
(7) Result:

(8) Date of result (if you know):

(c) If you filed any third petition, application, or motion, give the same information:

(1) Name of court: N/A

(2) Docket or case number (if you know):

(3) Date of filing (if you know):

(4) Nature of the proceeding:

(5) Grounds raised:

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(6) Did you receive a hearing where evidence was given on your petition, application, or motion?
O Yes 4 No
(7) Result:

(8) Date of result (if you know):

(d) Did you appeal to the highest state court having jurisdiction over the action taken on your petition, application,

or motion?
(1) First petition: O Yes ™ No
(2) Second petition: O Yes O No
(3) Third petition: O Yes O No

(e) If you did not appeal to the highest state court having jurisdiction, explain why you did not:

Unware of higher court filing

12. For this petition, state every ground on which you claim that you are being held in violation of the Constitution,
laws, or treaties of the United States. Attach additional pages if you have more than four grounds. State the facts
supporting each ground. Any legal arguments must be submitted in a separate memorandum.

CAUTION: To proceed in the federal court, you must ordinarily first exhaust (use up) your available
state-court remedies on each ground on which you request action by the federal court. Also, if you fail to set
forth all the grounds in this petition, you may be barred from presenting additional grounds at a later date.

GROUND ONE: Ineffective Counsel

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):
Def. repeatedly told counsel that he did not want to take the plea deal. Def. was coerced into taking

_ the plea. Def. was deprived of establishing important mitigating circumstances, he was not afforded
the opportunity to present testimony to the jury. AG encouraged def. counsel to get def. to accept the

plea so he would get a "special" case (Giving counsel another case in exchange for coercing def. to

take the deal: Counsel refused to take the case to trial because "when took the case you had tess
charges" and counsel stated he didn't think he would win a jury trial. AG was admoinshed in court for
not providing def. with discovery after asking several times. Def. has still never seen the discovery.

(b) If you did not exhaust your state remedies on Ground One, explain why: N/A

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©)

Direct Appeal of Ground One:
(1) If you appealed from the judgment of conviction, did you raise this issue? O Yes

(2) If you did not raise this issue in your direct appeal, explain why:

NM No

| was told | could not appeal

(d) Post-Conviction Proceedings:

(1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state trial court?

MW Yes CO No

(2) If your answer to Question (d)(1) is "Yes," state:
Type of motion or petition: | Motion for Sentence Reduction/Provisional Release

Name and location of the court where the motion or petition was filed:

District Court of Oklahoma, 320 Robert S Kerr Ave, Oklahoma City OK 73102

Docket or case number (if you know): CF-2022-1542

Date of the court's decision: 1 0/31 /2023

Result (attach a copy of the court's opinion or order, if available):

Denied
(3) Did you receive a hearing on your motion or petition? O Yes 4 No
(4) Did you appeal from the denial of your motion or petition? O Yes Ki No
(5) If your answer to Question (d)(4) is "Yes," did you raise this issue in the appeal? © Yes O No

(6) If your answer to Question (d)(4) is "Yes," state:

Name and location of the court where the appeal was filed:

N/A

Docket or case number (if you know):

Date of the court's decision:

Result (attach a copy of the court's opinion or order, if available):

(7) If your answer to Question (d)(4) or Question (d)(5) is "No," explain why you did not raise this issue:

N/A

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(e) Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies, etc.) that you have

used to exhaust your state remedies on Ground One: None

GROUND TWO: Aberrant Behavior

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):
This is a mitgating factor because the def. committed these charges, all relative conduct, due to a

gambling addiction that was beyond his control and not allowed to be spoke about in court. This act

can be shown to have been wildly out of character for the def. The def. family wanted to send him to

a inpatient rehab facility that was known to work with courts for gambling addiction, depression and

suicidal thoughts. Instead of this route the AG refused and wanted a bond increase. This facility was
a lockdown unit where he could have attended all court hearings virtually and they were willing to

evious
customers that showed up in court in support for the def.
(b) If you did not exhaust your state remedies on Ground Two, explain why: N/A
(c) Direct Appeal of Ground Two:
(1) If you appealed from the judgment of conviction, did you raise this issue? O Yes (X No
(2) If you did not raise this issue in your direct appeal, explain why: | was told | could not appeal

(d) Post-Conviction Proceedings:
(1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state trial court?
Kl Yes No
(2) If your answer to Question (d)(1) is "Yes," state:

Type! mation wr-peiition: Motion for Sentence Reduction/Provisional Release

Name and location of the court where the motion or petition was filed: District Court of Oklahoma

320 Robert S. Kerr Ave, Oklahoma City, OK 73102

Docket or case number (if you know): CF-2022-1542

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Date of the court's decision: 10/31/2023

Result (attach a copy of the court's opinion or order, if available): Denied
(3) Did you receive a hearing on your motion or petition? Ol Yes No
(4) Did you appeal from the denial of your motion or petition? CO Yes ® No

(5) If your answer to Question (d)(4) is "Yes," did you raise this issue in the appeal? O Yes O No

(6) If your answer to Question (d)(4) is "Yes," state:
N/A

Name and location of the court where the appeal was filed:

Docket or case number (if you know):

Date of the court's decision:

Result (attach a copy of the court's opinion or order, if available):

(7) If your answer to Question (d)(4) or Question (d)(5) is "No," explain why you did not raise this issue:

N/A
(e) Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies, etc.) that you
have used to exhaust your state remedies on Ground Two: None

GROUND THREE: Def. Present Health and Family Circumstances

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

braces so hec can n walk but hep prison will not allow him to have them. He also has Trauma inefaned
Emphysema and has dead spots in his lungs. He has Asthma and lots of reathing problems, ADHD,

asking for help for five months before he collapased and they rushed him to the ER with a ruptured

gallbladder and he was septic.

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(b) If you did not exhaust your state remedies on Ground Three, explain why: N/A

(c) Direct Appeal of Ground Three:

(1) If you appealed from the judgment of conviction, did you raise this issue? O Yes i No

(2) If you did not raise this issue in your direct appeal, explain why: _—_| was told | could not appeal

(d) Post-Conviction Proceedings:
(1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state trial court?
A Yes OO No
(2) If your answer to Question (d)(1) is "Yes," state:

Type of motion or petition: Motion for Sentence Reduction/Provisional Release

Name and location of the court where the motion or petition was filed: | District Court of Oklahoma
320 Robert S. Karr Ave, Oklahoma City, OK 73102

Docket or case number (if you know): CF-2022-1542

Date of the court's decision: 10/31/2023

Result (attach a copy of the court's opinion or order, if available): Denied

(3) Did you receive a hearing on your motion or petition? O Yes ® No
(4) Did you appeal from the denial of your motion or petition? O Yes W No

(5) If your answer to Question (d)(4) is "Yes," did you raise this issue in the appeal? O Yes O No
(6) If your answer to Question (d)(4) is "Yes," state:

Name and location of the court where the appeal was filed: N/A

Docket or case number (if you know):

Date of the court's decision:

Result (attach a copy of the court's opinion or order, if available):

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(7) If your answer to Question (d)(4) or Question (d)(5) is "No," explain why you did not raise this issue:

(e) Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies, etc.) that you

have used to exhaust your state remedies on Ground Three: None

GROUND Four: _ This case turned political

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

AG O'Conner went to the TV saying "he was using Mr. Hanson and would make an example out of

him." One of the victims made a big show on Social Media that he had made campaign

The social media post says "YES, got the SOB. Sure it cost me a ton, but payback is a bitch."

(b) If you did not exhaust your state remedies on Ground Four, explain why: N/A

(c) Direct Appeal of Ground Four:

(1) If you appealed from the judgment of conviction, did you raise this issue? O Yes 4 No

(2) If you did not raise this issue in your direct appeal, explain why: | was told that | could not appeal

(d) Post-Conviction Proceedings:
(1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state trial court?
A Yes O No
(2) If your answer to Question (d)(1) is "Yes," state:

Type of motion or petition: | Motion for Sentence Reduction/Provisional Release

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(e)

Name and location of the court where the motion or petition was filed: District Court of Oklahoma

320 Robert S Kerr Ave, Oklahoma City, OK 73102

Docket or case number (if you know): © CF-2022-1542

Date of the court's decision: 10/31/2023

Result (attach a copy of the court's opinion or order, if available):

Denied
(3) Did you receive a hearing on your motion or petition? Cl Yes No
(4) Did you appeal from the denial of your motion or petition? O Yes 4% No
(5) If your answer to Question (d)(4) is "Yes," did you raise this issue in the appeal? © Yes O No

(6) If your answer to Question (d)(4) is "Yes," state:

Name and location of the court where the appeal was filed: N/A

Docket or case number (if you know):

Date of the court's decision:

Result (attach a copy of the court's opinion or order, if available):

(7) If your answer to Question (d)(4) or Question (d)(5) is "No," explain why you did not raise this issue:

N/A

Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies, etc.) that you

have used to exhaust your state remedies on Ground Four:

N/A

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13. Please answer these additional questions about the petition you are filing:
(a) Have all grounds for relief that you have raised in this petition been presented to the highest state court
having jurisdiction? Ml Yes O No
If your answer is "No," state which grounds have not been so presented and give your reason(s) for not
presenting them: N/A
(b) Is there any ground in this petition that has not been presented in some state or federal court? If so, which

ground or grounds have not been presented, and state your reasons for not presenting them:

No
14. Have you previously filed any type of petition, application, or motion in a federal court regarding the conviction
that you challenge in this petition? O Yes 1 No

If "Yes," state the name and location of the court, the docket or case number, the type of proceeding, the issues

raised, the date of the court's decision, and the result for each petition, application, or motion filed. Attach a copy

of any court opinion or order, if available. N/A
15, Do you have any petition or appeal now pending (filed and not decided yet) in any court, either state or federal, for
the judgment you are challenging? O Yes 4 No

If "Yes," state the name and location of the court, the docket or case number, the type of proceeding, and the issues

raised.

N/A

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16. Give the name and address, if you know, of each attorney who represented you in the following stages of the
judgment you are challenging:
(a) At preliminary hearing: NONE

(b) At arraignment and plea TONY COLEMAN

(c) At trial: NONE

(d) At sentencing: TONY COLEMAN

(e) On appeal: NONE

(f) In any post-conviction proceeding: PRO SE

(g) On appeal from any ruling against you in a post-conviction proceeding:

NONE
17. Do you have any future sentence to serve after you complete the sentence for the judgment that you are
challenging? O Yes KI No

(a) If so, give name and location of court that imposed the other sentence you will serve in the future:

N/A

(b) Give the date the other sentence was imposed:

(c) Give the length of the other sentence:

(d) Have you filed, or do you plan to file, any petition that challenges the judgment or sentence to be served in the
future? O Yes M No
18. TIMELINESS OF PETITION: If your judgment of conviction became final over one year ago, you must explain

why the one-year statute of limitations as contained in 28 U.S.C. § 2244(d) does not bar your petition.*
N/A

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* The Antiterrorism and Effective Death Penalty Act of 1996 ("AEDPA") as contained in 28 U.S.C. § 2244(d) provides in
part that:

(1) A one-year period of limitation shall apply to an application for a writ of habeas corpus by a person in
custody pursuant to the judgment of a State court. The limitation period shall run from the latest of -

(A) the date on which the judgment became final by the conclusion of direct review or the expiration
of the time for seeking such review;

(B) the date on which the impediment to filing an application created by State action in violation of
the Constitution or laws of the United States is removed, if the applicant was prevented from
filing by such state action;

(C) the date on which the constitutional right asserted was initially recognized by the Supreme Court,
if the right has been newly recognized by the Supreme Court and made retroactively applicable to
cases on collateral review; or

(D) the date on which the factual predicate of the claim or claims presented could have been
discovered through the exercise of due diligence.

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(2) The time during which a properly filed application for State post-conviction or other collateral review with
respect to the pertinent judgment or claim is pending shall not be counted toward any period of limitation
under this subsection.

Therefore, petitioner asks that the Court grant the following relief:
Dismiss the Racketeering charge or remand it back to the sentencing court. There was NO evidence

as stated by law that allowed the def. to be charged with Racketeering. Please see attached motion.

or any other relief to which petitioner may be entitled.

Signature of Attorney (if any)

I declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and correct and that this Petition for

Writ of Habeas Corpus was placed in the prison mailing system on 2/28/2023 (month, date, year).

Executed (signed) on 2/28/2023 (date).

Wihel flew

Signature of Petitioner

If the person signing is not petitioner, state relationship to petitioner and explain why petitioner is not signing this petition.

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